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        Attorneys for Defendant
  13    2637-45 Main, LLC
  14                         UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
  15
  16    CHRIS LANGER,                               Case: 2:17-CV-00758-PA-JC
  17                Plaintiff,
                                                    JOINT STIPULATION FOR
  18    v.                                          DISMISSAL PURSUANT TO
  19    2637-45 MAIN, LLC, a California             F.R.CIV.P. 41 (a)(1)(A)(ii)
        Limited Liability Company;
  20    and Does 1-10,
  21                Defendants.
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       Joint Stipulation for Dismissal                   Case: 2:17-CV-00758-PA-JC
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   1                                     STIPULATION
   2
   3          Pursuant to F.R.CIV.P.41 (a)(1)(A)(ii), IT IS STIPULATED by and
   4   between the parties hereto that this action may be dismissed with prejudice
   5   as to all parties; each party to bear his/her/its own attorneys’ fees and costs.
   6   This stipulation is made as the matter has been resolved to the satisfaction of
   7   all parties.
   8   Dated: April 20, 2017              CENTER FOR DISABILITY ACCESS
   9
                                               /s/ Phyl Grace
                                          By: _____________________________
  10                                             Phyl Grace
                                                 Attorneys for Plaintiff
  11
  12   Dated: April 20, 2017              THE KARLIN LAW FIRM LLP
  13
                                               /s/ David E. Karlin
                                          By: ____________________
  14                                           L. Scott Karlin
  15                                           David E. Karlin
                                               Attorneys for Defendant
  16                                           2637-45 Main, LLC
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       Joint Stipulation for Dismissal                  Case: 2:17-CV-00758-PA-JC
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   1                         SIGNATURE CERTIFICATION
   2
   3   Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
   4   Policies and Procedures Manual, I hereby certify that the content of this
   5   document is acceptable to David E. Karlin, counsel for 2637-45 Main, LLC,
   6   and that I have obtained Mr. Karlin’s authorization to affix his electronic
   7   signature to this document.
   8
   9   Dated: April 20, 2017             CENTER FOR DISABILITY ACCESS
  10
  11                                            /s/ Phyl Grace
                                         By: _____________________________
  12
                                               Phyl Grace
                                               Attorneys for Plaintiff
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       Joint Stipulation for Dismissal                  Case: 2:17-CV-00758-PA-JC
